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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 1:07CR 457-03
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
JAMES CHAPMAN,                                )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Kenneth S. McHargh, regarding the change of plea hearing of , which was

referred to the Magistrate Judge with the consent of the parties.

       On August 29, 2007, the government filed a two-count indictment, charging Defendant ,

James Chapman, with Conspiracy with Intent to Distribute Crack Cocaine in violation of Title

21 United States Code, Section 846; and Title 21 United States Code, Section 841(a)(1) and

(b)(1)(A)(2) . On September 20, 2007, Defendant Chapman was arraigned and entered a plea of

not guilty before Magistrate Judge Kenneth S. McHargh. On October 23, 2007, Magistrate

Judge Kenneth S. McHargh received Defendant Chapman’s plea of guilty to count one of the

indictment and issued a Report and Recommendation (“R&R”) concerning whether the plea
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should be accepted and a finding of guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Chapman is found to be competent to enter a plea and to understand his constitutional rights. He

is aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Chapman is adjudged guilty of Count 1 of the indictment, in

violation of Title 21 United States Code, Section 846. This matter is referred to the U. S.

Probation Department for the completion of a pre-sentence investigation and report. Sentencing

will be on January 17, 2008, at 10:00 a.m. in Courtroom 17-A, Carl B. Stokes United States

Court House, 801 West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
